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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

Vs.                        CASE NO. 4:07cr00317-07 JMM

JIMMY LOWE

                                        ORDER

      Defendant submitted to the Court on June 22, 2009, a letter from Dr. Cagle

indicating the nature of Defendant’s medical problems. The information provided also

indicates that Defendant is currently under the care of Dr. Campbell who is evaluating the

possible need for surgery. Based on this information, the warrant previously issued is

withdrawn and Defendant’s date to report to the Bureau of Prisons will be reset.

      Defendant is directed to provide, to the Court, detailed documentation from

Dr. Campbell no later than July 6, 2009. The report should include the doctor’s

opinion of possible surgery. If surgery is necessary, the doctor is to include the date

of surgery and recovery time.

      Defendant shall report to the designated facility or to the United States Marshals

Office to begin service of his sentence imposed on November 19, 2008, no later than 2:00

p.m. on July 27, 2009.

      The Clerk is requested to provide a copy of this order to the United States Probation

Office and the United States Marshals Service.

      IT IS SO ORDERED THIS 24th day of June, 2009.



                                          UNITED STATES DISTRICT JUDGE
